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                                                     EXHIBIT A

   DISTRICT COURT, LARIMER (FT COLLINS) COUNTY, COLORADO
   Court Address:
   201 Laporte Avenue, Suite 100, Fort Collins, CO, 80521
                                                                    DATE FILED: January 28, 2016 1:07 PM
    The People of the State of Colorado                             CASE NUMBER: 2016CR208
    v.
    WILLIAM KENT MONTGOMERY



                                                                                       COURT USE ONLY
                                                                              Case Number: 2016CR208
                                                                              Division: 4C      Courtroom:

                                          Order: Affi in Support-Warrantless Arrest

   The motion/proposed order attached hereto: PROBABLE CAUSE FOUND.




   Issue Date: 1/28/2016




   MATTHEW RICHARD ZEHE
   Magistrate




                                                                                                             Page 1 of 1
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